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IN THE UNITED STATES DISTRICT COURT FH.E"D 5';-'
FOR THE WESTERN DISTRICT OF TENNESSEE q
WESTERN DIVISION 95 JUA§ 20 PH 2 07

,u.., D.C.

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.D. Ol‘ B`N, :`lel\.-TPFEFTS:

 

UNITED STATES OF AMERICA )
Plaintiff, §
VS § CR. NO. 03-20409-D
LEON JACKSON §
Defendant. ))
ORDER 'I`O SURRENDER

 

The defendant, Leon Jackson, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis
SCP, 1101 John A. Denie Rd., Memphis, Tennessee 38134 by 2:00 p.m. on WEDNESDAY,
JULY 20, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Offlce Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTERED this the.Q@ day of June, 2005.

 

  
 

This dccum¢'m entered on the docket EH€;§": " :`: ' thriftch `
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ACKNOWLEDGEMENT

I_ agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:03-CR-20409 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

